      Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.3 Page 1 of 21




Thomas Alvord #14119
LawHQ, LLC
299 S. Main St. #1300
Salt Lake City, UT 84111
Telephone: (385) 285-1090 ext. 30002
Email: thomas@lawhq.com
Attorney for Plaintiffs




                          UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION
                                AT SALT LAKE CITY


 ADRIAN JUCHAU and KARISSA
 KENNEY,                                                   Case No. 2:21-cv-00551-RJS

          Plaintiffs,                                    PROPOSED CLASS ACTION
                                                              COMPLAINT
 v.
                                                               JURY DEMANDED
 FLUENT, INC., and DMS DE, INC.

          Defendants.




                                      INTRODUCTION

         1.      Like most Utah residents, Adrian Juchau (“Adrian”) and Karissa Kenney

(“Karissa”) have a mobile residential telephone.

         2.      Being mobile, they take their phones everywhere they go. They use their phones

to receive and make important calls, to get emergency information, and to receive and send text

messages to family members and friends. They use their phones regularly for their personal

enjoyment.
   Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.4 Page 2 of 21




       3.        Defendant Fluent, Inc. (“Fluent”) is a marketing company that telemarkets using

text messages.

       4.        Defendant DMS DE, Inc., operating under the name Digital Media Solutions,

(“DMS”) sends text messages on behalf of Fluent under Fluent’s control.

       5.        Fluent knows that sending telemarketing text messages without consent is an

invasion of people’s privacy. On Fluent’s own website it states: “[B]efore you start texting, the

phone numbers you are contacting (and the people connected with them) must have been

provided to you through compliance with the Telephone Consumer Protection Act. Basically,

you must have explicit consent! A phone number, especially a personal cell phone number, is

private and precious and you do not want to overstep that boundary.” Text Message and SMS

Marketing: How It Works, Best Practices, and How to Use It,

https://www.fluentco.com/blog/sms-marketing-guide (last accessed September 14, 2021)

(emphasis added).

       6.        Despite this knowledge, Fluent and DMS blast millions of non-consenting

individuals, including Plaintiffs, with automated telemarketing text messages in violation of the

Telephone Consumer Protection Act (“TCPA”).

       7.        Fluent also knows that identifying the sender of the text message is critical. “Who
are you and why are you texting me? That will be the first two questions on a consumer’s

mind…. Before diving into why you are texting them, let them know your name. Remember,

text message marketing is almost like knocking on someone’s front door.” Text Message and

SMS Marketing: How It Works, Best Practices, and How to Use It,

https://www.fluentco.com/blog/ sms-marketing-guide (last accessed September 14, 2021)

(emphasis added).

       8.        But Fluent and DMS purposefully obscure and hide their identity when sending

text messages in violation of the TCPA.
   Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.5 Page 3 of 21




       9.      Fluent’s General Counsel and Chief Compliance Officer, Dan Barsky (“Barsky”),

has testified that when Fluent runs telemarketing for some clients, Fluent knowingly will hide

their true names so that it is difficult for recipients to find them and sue them.

       10.     When individuals finally do discover that Fluent was the sender of a text

messages with an undisclosed sender, and seeks information from Fluent about the messages,

Fluent has responded with fabricated consent.

       11.     Fluent has a long history of fabricating consents, even before Fluent sent the text

messages to Adrian and Karissa.

       12.     An investigation by the New York State Office of the Attorney General (“OAG”)

reveals that Fluent has falsified consents for years. Starting in 2016, Fluent has run political

advocacy campaigns. In these campaigns, Fluent is supposed to solicit individuals’ consent to

submit advocacy messages to the government on their behalf. But the OAG found that Fluent

never obtained consent from any individuals to submit a comment on their behalf. When initially

probed about the purported consents, Fluent fabricated timestamps and IP addresses trying

to pretend that it had obtained consent. The OAG found that Fluent was responsible for the

submission of approximately ten million fake letters and public comments, all without consent.

       13.     The OAG also found that Fluent fabricated alleged consent to receive email
communications. Some clients required that Fluent include a checkbox in the creative through

which consumers could subscribe to future email communications from the advocacy group

sponsoring the campaign. Fluent employees created fake data showing that certain consumers

had checked the box and agreed to join the mailing list, when in fact nobody had been show the

checkbox. In one campaign, Fluent purposefully made it appear that 96% percentage of users had

checked the box and opted-in while the remaining 4% had unchecked the box. Fluent did all this

to give the appearance of consent, though none existed.
   Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.6 Page 4 of 21




       14.     This is the same complaint Adrian and Karissa have herein—they never gave any

consent to Fluent. And when Adrian and Karissa complained to Fluent about the text messages

and lack of consent, Fluent responded it had consent, when it did not.

       15.     Fluent and DMS know that they are sending text messages to people who have

not consented to receive them, but Fluent has done nothing to change its practices.

       16.     Adrian, Karissa, and Class members who received texts from Fluent and DMS,

have no relationship with Fluent or DMS, have no account with Fluent or DMS, have never

provided their telephone numbers to Fluent or DMS, and have never consented to Fluent or DMS

sending them any type of communication.

       17.     Adrian, Karissa, and some Class members have tried to eliminate the harassment,

invasion of their privacy and other damages from the unauthorized texts by registering their

numbers on the National Do Not Call Registry (“DNCR”), but even that has not worked.

       18.     Fluent and DMS simply continue to blast text messages to people in Utah without

consent, without proper identifications, and without caring if the people are on the DNCR.

       19.     These text messages have caused Adrian, Karissa, and the Class members

frustration, stress, anxiety, and worry about scammers. The text messages hinder them from

enforcing their rights to determine the purpose of the call, to make a do-not-call request, and to
monitor compliance with the TCPA rules. The text messages cause them to avoid looking at their

phones when it may be important. The text messages reduce their phones’ storage and battery

life. In short, the text messages invade their privacy, dimmish the value of their phones and their

enjoyment of life, and cause a nuisance, an annoyance, and an intrusion into their seclusion.

       20.     “Robocalls and robotexts are nuisances. Congress banned them in the Telephone

Consumer Protection Act of 1991 (‘TCPA’). But as every American knows, there are

companies—like the defendant in this case—who refuse to get that message while collectively
   Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.7 Page 5 of 21




sending millions of others.” Cranor v. 5 Star Nutrition, L.L.C., 998 F.3d 686, 688 (5th Cir.

2021).

         21.    Because of Defendants’ continuing violations of the law, Adrian and Karissa

bring this action for themselves and for other similarly situated people in Utah to enjoin these

abusive practices, and for damages.

                               JURISDICTION AND VENUE

         22.    This Court has original subject matter jurisdiction pursuant to 28 U.S.C.

§ 1331 because this action arises under the TCPA. 47 U.S.C § 227.

         23.    This Court has personal jurisdiction over Defendants because their conduct

intentionally targeted Plaintiffs, Utah residents, and others in Utah.

         24.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a significant

portion of the facts giving rise to this lawsuit occurred in this District.

                                             PARTIES

         25.    Plaintiff Adrian Juchau is an individual and is a resident of Utah County, Utah.

         26.    Plaintiff Karissa Kenney is an individual and is a resident of Utah County, Utah.

         27.    Defendant Fluent, Inc. is a Delaware Corporation with its principal place of

business in New York.

         28.    Defendant DMS DE, Inc. is a Delaware Corporation with its principal place of

business in Florida, operating under the name Digital Media Solutions.

                                FACTUAL ALLEGATIONS

         29.    Plaintiffs restate and reallege the allegations set forth above.

         30.    Plaintiffs, and members of the Classes, have residential cellular telephones.
   Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.8 Page 6 of 21




       31.     Plaintiffs, and members of the Classes, have had their privacy and the use of their

phones invaded by the non-emergency telemarketing text messages from Fluent and DMS.

       Messages Sent by Fluent to Adrian

       32.     Adrian is the residential subscriber of the cell phone number 801-641-2622.

Adrian only uses this number for personal use and does not use it in any business.

       33.     Adrian registered 801-641-2622 on the DNCR to stop telephone solicitations.

       34.     Fluent sent at least eleven text messages to Adrian within a 12-month period.

Here are three examples:

                 i.   Hi Lisa— I'm w/ CrēdïtNów-- Fix your credit AND maybe qualify for a
                      $1500 credit line to buy the perfect Holiday presents-- Call NOW or type
                      no to stop
                      - Sent December 17, 2018 from 530-503-9751

                ii.    Hey Lisa; it's Amanda from SāvėAūtō. Auto insurance too pricey?
                       Decrease it to as low as $29/mon. Call to learn how. TXT 'CANCEL' to end
                   - Sent January 14, 2019 from 801-783-5662

               iii.   This is Lauren w/ DêãlsTõdãy: Lisa; you are chosen to access to get a Free
                      Smartphone! Call Now to claim your entry! txt "no thanks" to opt out.
                      - Sent January 28, 2019 from 469-281-7821
       35.     When Fluent sent the eleven text messages, Adrian’s number 801-641-2622 was

registered on the DNCR.

       36.     In the text messages, Fluent addresses Adrian by the name of “Lisa,” yet Adrian

has never gone by or used the name Lisa.

       Messages Sent By Fluent and/or DMS to Karissa

       37.     Karissa is the residential subscriber of the cell phone number 801-787-9750.

Karissa only uses this number for personal use and does not use it in any business.

       38.     Karissa registered 801-787-9750 on the DNCR to stop telephone solicitations.

       39.     Fluent and/or DMS sent at least seven text messages to Karissa within a 12-month

period. Here are four examples:
   Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.9 Page 7 of 21




                i.   Survey Voices MSG: FRANCES, thanks for taking our survey. You've
                     been selected as a finalist for a 1k bonus deal! Act fast:
                     https://erwds.us/LCGoKnxlZ Reply STOP to cancel
                     - Sent July 7, 2019 from 83516

               ii.   Sweeps Entry: FRANCES, your entry is accepted! AND you've been
                     selected as a finalist for a 1k bonus deal. Take your pick: https://rwd-
                     1.us/o8iXLKkbO Reply STOP to cancel
                     - Sent July 7, 2019 from 83516

              iii.   Frances, someone in UT zip code 84109 just claimed their $1,000 Walmart
                     GC. http://r.survey.rocks/r/1nkl72a0j (CAC, reply stop to remove)
                     - Sent July 9, 2019 from 53294

               iv.   Winners in 84109 Confirmed, Frances! Check results here:
                     http://r.survey.rocks/r/1nulxzo00 (CAC, reply stop to remove)
                     - Sent July 13, 2019 from 53294
       40.    When Fluent and DMS sent the seven text messages, Karissa’s number 801-787-

9750 was registered on the DNCR.

       41.    In the text messages, Fluent and DMS address Karissa by the name of “Frances,”

yet Karissa has never gone by or used the name Frances.

       Defendants Hide Their Identity

       42.    For over a year, Plaintiffs tried to identify who sent these text messages.

       43.    The text messages do not disclose the name of the individual nor the name of the

entity on whose behalf the text messages were sent.

       44.    The few times Fluent included the name of an individual in the text message—

such as “Amanda” or “Lauren”—it was simply to make the messages appear personal. These

names, however, were made up and the text messages were not sent by people having those

names. A search of Fluent’s 186 employees on LinkedIn.com reveals no employees with the

name Amanda or Lauren. Fluent, Inc, https://www.linkedin.com/company/fluentinc/people/?

keywords=Amanda and https://www.linkedin.com/company/fluentinc/people/?keywords=lauren

(last accessed September 7, 2021).
   Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.10 Page 8 of 21




       45.       To avoid detection, Fluent and DMS used dba entity names in the text messages

such as CreditNow, SaveAuto, DealsToday, and CAC that make it impossible to identify who

actually sent the text messages.

       46.       Fluent and DMS purposefully do this to avoid detection and liability for illegal

telemarketing.

       47.       Adrian and Karissa received other texts which they believe came from Defendants

due to the content, but which they have not yet been able to identify the sender because the

message hides the identity of the sender.

       Fluent and DMS Sent the Text Messages

       48.       After more than a year of inquiry by Plaintiffs, Barsky admitted in an email that

Fluent sent the above text messages to Adrian and Karissa.

       49.       For the messages from Fluent short code 53294, Barsky shared that Fluent

“authorized a publisher” to send the text messages to Karissa.

       50.       Publishers are third parties that Fluent allows to send messages promoting

Fluent’s services. Fluent exercises substantial control over their publishers. This is partly based

on the following statements from Barsky and Fluent:

          i.     Barsky has stated, “We have a very few publishers who we allow to send text
                 promoting our sites” and “we don’t have many pubs authorized to send texts.”

         ii.     Fluent has said: “Fluent closely controls which publishers may send messages

                 promoting it services.”

        iii.     Fluent has said that “Fluent keeps careful records of which text-message

                 campaigns it approves.”

         iv.     And Barsky has stated that “In fact we don’t allow texting without our express

                 permission.”
   Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.11 Page 9 of 21




       51.     Fluent’s control over the publisher that sent the text messages from Fluent short

code 53294 to Karissa, is further evidenced by the following facts:

          i.   The text message came from 53294, which according to the terms of service on

               Fluent’s websites is one of Fluent’s own SMS short codes.

         ii.   The text messages from 53294 all included the name “CAC” which is a dba of

               Fluent and was used by the sender of the texts.

        iii.   When Karissa responded stop to the text messages from 53294, she received an

               automated reply which said: “Samples and Savings: You are opted out and will

               receive no more msgs. For help, please call 855-276-5557.” Samples and Savings

               is one of Fluent’s wholly owned subsidiaries.

       52.     Collectively, all of this demonstrates that Fluent gave express permission to one

of its publishers, to send the text messages from 53294 to Karissa; Fluent closely controlled this

publisher; Fluent provided the fabricated lead to this publisher; Fluent controlled this publisher

to use Fluent’s own text messaging system to send the text messages; Fluent controlled the

publisher to have the text messages come from Fluent’s own SMS short code; and Fluent

controlled the publisher to use Fluent’s dba in the messaging.

       53.     Fluent is vicariously liable for the actions of this publisher.
       54.     The evidence all points to Digital Media Solutions (“DMS”) as the publisher who

sent the text messages from 53294 to Karissa.

       55.     The text messages from 53294 to Karissa contain the URL “survey.rocks,” which

is owned and controlled by DMS. Additionally, when clicking on the URLs in the text messages

from 53294, they redirected to other webpages that are also owned and controlled by DMS.

       The Text Messages Are Telephone Solicitations and Constitute Telemarketing

       56.     The text messages are telephone solicitations and constitute telemarketing.
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.12 Page 10 of 21




       57.     The text message to Juchau encouraged him to get a personal loan and new

insurance.

       58.     The Free Smartphone, 1k bonus, and $1000 gift card set forth in the texts are not

actually free or bonuses. Rather, Fluent and DMS offer those in return for consumers making

purchases to earn them.

       The Text Messages Were Automated

       59.     Fluent and DMS sent the text messages to Adrian, Karissa, and Class members

using an Automatic Telephone Dialing System (“ATDS”), and/or an artificial or prerecorded

voice message. This is based on the following facts:

                  i.   Many of the texts were sent from an SMS short code;

                ii.    The texts were sent from multiple phone numbers to prevent the numbers

                       from being blocked;

                iii.   The texts used the incorrect name for Adrian and Karissa;

                iv.    Adrian and Karissa have no relationship with Fluent or DMS;

                 v.    The texts were not in response to any action Adrian or Karissa had taken;

                vi.    The texts did not name the sender;

               vii.    The texts misspelled words and used accent marks in inexplicable ways
                       and introduced unusual hyphenation (or lack thereof) between words, in

                       an attempt to evade spam detection;

              viii.    The texts provided mechanical opt-out instructions, something ATDS’s

                       do;

                ix.    When replying to the text messages via SMS, no one responds;

                 x.    Some of the text messages ask the recipient to call back, yet when calling

                       back only a prerecorded voice plays;
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.13 Page 11 of 21




                xi.   The phone numbers spammed by Fluent appear to be randomly or

                      sequentially produced not from information consentually provided to

                      Fluent or DMS, but from bots, public data sources, or some other means;

                      and

               xii.   Barsky has stated that Fluent uses a relational database for its messaging

                      system. Such databases use a sequential number generator (i.e. auto-

                      increment) when storing data. This means Fluent’s messaging system uses

                      a sequential number generator to store the telephone numbers that Fluent

                      and DMS texted.

       Defendants Had No Consent, Knew it, and Fluent Likely Fabricated Consents

       60.     Adrian and Karissa did not provide their phone numbers to Fluent or DMS, have

never had a relationship with Fluent or DMS, and never gave permission to Fluent or DMS to

contact them in any way.

       61.     Adrian and Karissa are not isolated incidents. Many people have reported spam

text messages from Fluent and Fluent’s publishers. The text messages in these situations are also

addressed to the wrong person.

       62.     In addition to what the New York OAG found regarding fabricated advocacy
consents, in a recent lawsuit involving a Fluent telemarketing campaign that occurred before the

texts were sent to Plaintiffs, Fluent’s call logs revealed that in two months 226,434 people opted-

out of Fluent’s messages, accounting for 28% of the phone numbers Fluent had contacted for that

campaign; hundreds of thousands of the entries on Fluent’s lead lists were missing name and

address data; many people responded with complaints that Fluent had the wrong person and did

not have consent to be texting them; and there were over 100,000 duplicate records in which

entries created months apart repeated the exact same registration information—including typos,
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.14 Page 12 of 21




misspellings, nonsense characters and the like—yet indicated they were from a different IP

address or different city.

        63.    Fluent knows the leads it uses do not have valid consents. DMS would have had

knowledge of this as well.

        64.    Defendants willfully sent the text messages in this case, even though Defendants

knew that the leads were bad, the people had not consented, and many people were on the

DNCR. Defendants did this while doing nothing to verify the leads or checking the DNCR

registry.

        Plaintiffs Were Harmed and Damaged

        65.    These text messages have caused Adrian, Karissa, and the Class members

frustration, stress, anxiety, and worry about scammers. The text messages hinder them from

enforcing their rights to determine the purpose of the call, to make a do-not-call request, and to

monitor compliance with the TCPA rules. The text messages cause them to avoid looking at their

phones when it may be important. The text messages reduce their phones’ storage and battery

life. In short, the text messages invade their privacy, dimmish the value of their phones and their

enjoyment of life, and cause a nuisance, an annoyance, and an intrusion into their seclusion.

        Defendants Knew and Intended the Messages to be Received By Utah Residents
        66.    Similar telemarketing text messages were sent to thousands of non-consenting

people in Utah, many on the DNCR.

        67.    When Fluent gave DMS the fabricated lead information for Karissa, the lead

included location information that said the lead was located in Utah.

        68.    When contacting Karissa, DMS knew that it was contacting people in Utah and

purposefully directing text messages to Utah.

        69.    Fluent knows the location of the people to whom it markets, including those in

Utah as Fluent boasts it is a “data-driven” and “data-first” company with “proprietary first-party
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.15 Page 13 of 21




data” of over 190 million consumers.” Publisher Spotlight Fluent, https://impact.com/

partnerships/publisher-spotlight-fluent/ (last accessed August 7, 2021). See also Investor

Relations Home | Fluent, Inc., https://investors.fluentco.com (last accessed August 7, 2021).

Fluent’s data is not stagnant as Fluent “engage[s] with nearly 1 million US consumers” every

day. Id.

       70.     In one text message to Karissa, DMS stated: “someone in UT zip code 84109 just

claimed their $1000 Walmart GC.” This indicates that DMS and Fluent had just engaged with a

consumer in Utah and DMS was sharing this information with Karissa because the zip code is

nearby where Karissa lives.

       71.     Further, the 801, 385, and 435 areas code used by Plaintiffs and the Class

members are Utah area codes. As marketing companies and data companies, both Fluent and

DMS would understand that based on the area codes and the addresses in the leads—absent other

data to suggest otherwise—Adrian, Karissa, and the Class members live in Utah and the text

messages sent to them would be received in Utah.

                                   LEGAL STANDARD

       72.     The TCPA prohibits “mak[ing] any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using any automatic

telephone dialing system or an artificial or prerecorded voice ... to any telephone number

assigned to a ... cellular telephone service.” Strange v. T C N, Inc., No. 4:18-CV-00058-DN,

2019 WL 1382287, at *3 (D. Utah Mar. 27, 2019).

       73.     The TCPA provides that no person or entity shall make a call “using an automatic

telephone dialing system or an artificial or prerecorded voice… [t]o any… cellular telephone”

unless the call is “made for emergency purposes or made with the prior express consent of the

called party.” 47 U.S.C. § 227(b)(1)(A)(iii); see also 47 C.F.R. § 64.1200(a)(1).
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.16 Page 14 of 21




       74.      If the call “introduces an advertisement or constitutes telemarketing” then “prior

express written consent” is required. 47 C.F.R. § 64.1200(a)(2) (emphasis added).

       75.      Residential telephone subscribers who do not want to receive telephone

solicitations may place their phone number on the national Do Not Call Registry. 47 C.F.R.

§ 64.1200(c).

       76.      The TCPA proscribes callers from making “any telephone solicitation to… [a]

residential telephone subscriber who has registered his or her telephone number on the national

do-not-call registry.” 47 C.F.R. § 64.1200(c)(2).

       77.      The TCPA also prohibits callers from telemarketing to a residential telephone

subscriber without disclosing the name of the individual caller and the name of the person or

entity on whose behalf the call is being made. 47 C.F.R. § 64.1200(d).

       78.      Both phone calls and text messages qualify as a “call” under the

TCPA. Satterfield v. Simon Schuster, 569 F.3d 946, 954 (9th Cir. 2009).

       79.      Wireless telephone subscribers are allowed to place their number on the DNCR.

47 C.F.R. § 64.1200(e).

       80.      “[A] defendant may be held vicariously liable for TCPA violations where the

plaintiff establishes an agency relationship, as defined by federal common law, between the
defendant and a third-party caller.” Gomez v. Campbell-Ewald Co., 768 F.3d 871, 879 (9th Cir.

2014); see also Henderson v. United Student Aid Funds, Inc., 918 F.3d 1068, 1072 (9th Cir.

2019). Whether an agency relationship exists is ultimately a question of fact. See United States v.

Dish Network L.L.C., 954 F.3d 970, 975 (7th Cir. 2020)

       81.      The Supreme Court recently recognized again the invasion of privacy from these

calls. “In enacting the TCPA, Congress found that banning robocalls was ‘the only effective

means of protecting telephone consumers from this nuisance and privacy invasion.’… In plain
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.17 Page 15 of 21




English, the TCPA prohibited almost all robocalls to cell phones.” Barr v. Am. Ass'n of Pol.

Consultants, Inc, 140 S. Ct. 2335, 2344, 207 L. Ed. 2d 784 (2020).

                           CLASS ACTION ALLEGATIONS

       82.     Pursuant to Civ. R. 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure,

Plaintiffs bring this action on behalf of themselves, and Classes of persons similarly situated, to

remedy the ongoing unlawful business practices alleged herein and to seek redress on behalf of

all those persons who have been harmed thereby, including injunctive relief.

       83.     Class Definitions. Plaintiffs propose the following Classes:


       The Automated Calls Class
       All Utah residents with (1) telephone numbers having the Utah area code 801, 385 or
       435, (2) who within four years prior to the filing of this action, (3) Fluent, or DMS for
       Fluent, sent a text message to their cellular telephone, (4) using the same equipment or
       type of equipment utilized to send text messages to Plaintiffs.



       The Do Not Call Class
       All Utah residents with (1) telephone numbers having the Utah area code 801, 385 or
       435, (2) who within the four years prior to the filing of this action, (3) Fluent, or DMS for
       Fluent, sent more than one telephone solicitation via text message within any 12-month
       period, (4) to their residential cellular telephone number, (5) while listed on the national
       Do Not Call Registry.



       The Failure To Identify Class
       All Utah residents with (1) phone numbers using the Utah area code 801, 385 or 435,
       (2) who within four years prior to the filing of this action, (3) Fluent, or DMS for Fluent,
       sent more than one telemarketing text message within any 12-month period, (4) to their
       residential cellular telephone number, (5) where the text message did not disclose the
       identity of the individual caller and the identity of the entity on whose behalf the call was
       made.
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.18 Page 16 of 21




       84.        These text messages have caused the Class members frustration, stress, anxiety,

and worry about scammers. The text messages hinder them from enforcing their rights to

determine the purpose of the call, to make a do-not-call request, and to monitor compliance with

the TCPA rules. The text messages cause them to avoid looking at their phones when it may be

important. The text messages reduce their phones’ storage and battery life. In short, the text

messages invade their privacy, dimmish the value of their phones and their enjoyment of life,

and cause a nuisance, an annoyance, and an intrusion into their seclusion.

       85.        Class Size. The Classes are so numerous that joinder of all members would be

impracticable. The exact size of the Classes and the identity of the members are readily

ascertainable from Defendants’ business records, and likely number in at least the thousands.

       86.        Adequacy. Plaintiffs are adequate representatives of the Classes because their

interests do not conflict with the interests of the Classes, they will fairly and adequately protect

the interests of the Classes, and they are represented by counsel competent and experienced in

TCPA and class action litigation.

       87.        Common Questions of Law and Fact. There are questions of law and fact

common to the proposed Classes. These questions include, inter alia:

             i.   Did they receive a text from Fluent or DMS?
         ii.      Was the number called registered on the Do Not Call Registry?

        iii.      Did Fluent or DMS use an ATDS?

         iv.      Were the calls for an emergency purpose?

         v.       Did the text message properly identify the sender?

         vi.      Were Fluent and DMS’s actions willful or knowing?

       88.        Typicality. Plaintiffs’ claims are typical of those of the Classes they seek to

represent.
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.19 Page 17 of 21




       89.     The nature of the notice to the proposed class. Notice to the class will be

provided by mail and possibly text messages.

       90.     Rule 23(b)(3) issues. The questions of law and fact common to the class members

predominate over questions affecting only individual members. A class action is superior to

multiple individual suits because it conserves judicial resources, promotes consistency and

efficiency of adjudication, and deters illegal activities. The interest of individual members of the

Classes in individually controlling the prosecution of separate claims against Defendants are

small because the damages in an individual action for violation of the TCPA are small. Plaintiffs

are not aware of any litigation concerning this controversy already commenced by others who

meet the criteria for class membership described above. Concentrating the litigation of the claims

to this forum is desirable because Plaintiffs and the Class members are in Utah. Managing this

case as a class action should have no significant difficulties and will likely present few

difficulties because the scope of the class claims is narrowed to those with Utah area codes.

       91.     Rule 23(b)(2) issues. Defendant has acted on grounds generally applicable to the

Classes, thereby making final injunctive relief and corresponding declaratory relief with respect

to the Classes appropriate on a classwide basis. Moreover, the telemarketing violations made by

Defendants are likely to continue in the future if an injunction is not entered.
                                FIRST CAUSE OF ACTION
                   Violations of 47 U.S.C. § 227(b) & 47 C.F.R. 64.1200(a)
                   (On Behalf of Plaintiffs and the Automated Calls Class)

       92.     Plaintiffs repeat the prior allegations of this Complaint and incorporate them by

reference as though fully stated herein.

       93.     Fluent’s and DMS’s use of an ATDS, artificial voice, or prerecorded voice to

contact Plaintiffs and members of the Automated Calls Class violated 47 U.S.C. § 227(b) and

47 C.F.R. 64.1200(a).
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.20 Page 18 of 21




       94.     As a result of Fluent’s and DMS’s violations of 47 C.F.R. 64.1200(a), Plaintiffs

and members of the Automated Calls Class have been damaged and are entitled to an award of

$500.00 in statutory damages for each violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

       95.     Because Fluent and DMS knowingly and willfully violated 47 C.F.R.

64.1200(a), the court should award $1,500.00 in statutory damages for each violation, pursuant

to 47 U.S.C. § 227(b)(3)(B)-(C).

       96.     Fluent is vicariously liable for the text messages sent by DMS.

       97.     Plaintiffs and members of the Automated Calls Class are also entitled to

injunctive relief prohibiting Fluent and DMS from using an ATDS, artificial voice, and

prerecorded voice when sending telemarketing text messages without the prior express written

consent of the called party.

                               SECOND CAUSE OF ACTION
                   Violations of 47 U.S.C. § 227(c) & 47 C.F.R. § 64.1200(c)
                      (On Behalf of Plaintiffs and the Do Not Call Class)

       98.     Plaintiffs repeat the prior allegations of this Complaint and incorporate them by

reference as though fully stated herein.

       99.     Fluent and DMS’s telephone solicitations via text message to the residential

cellular telephones of Plaintiffs, and members of the Do Not Call Class, while on the National

Do Not Call Registry constitutes a violation of 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(c).

       100.    As a result of Fluent and DMS’s violation of 47 C.F.R. § 64.1200(c), Plaintiffs

and members of the Do Not Call Class have been damaged and are entitled to an award of

$500.00 in statutory damages for each violation, pursuant to 47 U.S.C. § 227(c)(5)(B).

       101.    Because Fluent and DMS knowingly and willfully violated of 47 C.F.R.

§ 64.1200(c), the court should award $1,500.00 in statutory damages for each violation, pursuant

to 47 U.S.C. § 227(c)(5)(B)-(C).

       102.    Fluent is vicariously liable for the text messages sent by DMS.
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.21 Page 19 of 21




       103.      Plaintiffs and members of the Do Not Call Class are also entitled to and seek

injunctive relief prohibiting Fluent and DMS from sending telephone solicitations via text

messages to phone numbers on the DNCR.

                                 THIRD CAUSE OF ACTION
                    Violations of 47 U.S.C. § 227(c) & 47 C.F.R. § 64.1200(d)
                   (On Behalf of Plaintiffs and the Failure To Identify Class)

       104.      Plaintiffs repeat the prior allegations of this Complaint and incorporate them by

reference as though fully stated herein.

       105.      Fluent and DMS’s sending of telemarketing text messages to the residential

cellular telephones of Plaintiffs, and members of the Failure To Identify Class, without

disclosing the identity of the individual and identity of the entity on whose behalf the messages

are sent, constitutes a violation of 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d).

       106.      As a result of Fluent and DMS’s violations of 47 C.F.R. § 64.1200(d), Plaintiffs

and members of the Failure To Identify Class have been damaged and are entitled to an award of

$500.00 in statutory damages for each violation, pursuant to 47 U.S.C. § 227(c)(5)(B).

       107.      Because Fluent and DMS knowingly and willfully violated 47 C.F.R.

§ 64.1200(d), the court should award $1,500.00 in statutory damages for each violation, pursuant

to 47 U.S.C. § 227(c)(5)(B)-(C).

       108.      Fluent is vicariously liable for the text messages sent by DMS.

       109.      Plaintiffs and members of the Failure To Identify Class are also entitled to and

seek injunctive relief requiring Defendants to disclose the name of the actual individual and the

actual name of the incorporated entity on whose behalf any text messages are sent when

telemarketing.
  Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.22 Page 20 of 21




                                     RELIEF REQUESTED

         Plaintiffs respectfully request that the Court grant Plaintiffs and all Class members the

following relief against Defendants:

         A.      Certification of the proposed Classes;

         B.      Appointment of Plaintiffs as class representatives;

         C.      Appointment of the undersigned as counsel for the Classes;

         D.      An order enjoining Defendants from using an ATDS, artificial voice, and

prerecorded voice when sending telemarketing text messages without the consent of the called

party;

         E.      An order enjoining Defendants from sending telephone solicitations via text

messages to phone numbers on the DNCR;

         F.      An order requiring Defendants to disclose the actual name of the individual as

well as the actual name of the incorporated entity on whose behalf any text messages are sent

when telemarketing;

         G.      An award of damages to Plaintiffs and the Classes, as allowed by law; and

         H.      Orders granting such other relief as the Court deems necessary, just, and proper.

                                         JURY DEMAND

         Plaintiffs request a jury trial as to all claims of the complaint so triable.
Case 2:21-cv-00551-RJS Document 2 Filed 09/22/21 PageID.23 Page 21 of 21




    Dated September 22, 2021.


                                      LawHQ, LLC

                                      /s/ Thomas Alvord           .
                                      Thomas Alvord

                                      299 S. Main St. #1300
                                      Salt Lake City, UT 84111
                                      (385) 285-1090 ext. 30002
                                      thomas@lawhq.com
